                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                   Case No. 7:23-cv-897

 IN RE: CAMP LEJEUNE TOXIC WATER                    PLAINTIFFS’ PROPOSAL OF TOPICS FOR
 EXPOSURE LITIGATION                                CONSIDERATION RELATED TO TRACK 1
                                                    TRIALS


 This document relates to:

 ALL CASES



         Pursuant to the Court’s invitation at the April 24, 2024 Status Conference (the “Status

Conference”), the Plaintiffs’ Leadership Group (“PLG”) respectfully submits for the Court’s

consideration proposed topics for potential discussion should the Court desire to hold conferences

under Federal Rule of Civil Procedure 16.

         Underpinning the topics below are two critical, overarching goals: (i) utilizing trials to

foster a global resolution; and (ii) the structure, timing, and methods for streamlining cases for

trial.

I.       Resolution Issues

         •   Process for integration of trial outcomes into resolution process;

         •   Special master selection and use to further resolution; and

II.      Individual Court Preferences

III.     Discussion of a presentation to the Court regarding CLJA foundational issues

         •   CLJA standard of proof: equipoise (at least as likely as not);

         •   Water contamination/days of presence on base; and

         •   General causation for each Track 1 disease.

IV.      Determining status of government reports: stipulations, admissions, pretrial procedures



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       •   Water modelling data; and

       •   ATSDR health studies.

V.     Trial structure considerations

       •   Use of single versus consolidated multiple plaintiff trials (Rule 42(a));

       •   Trial by disease (ie. all bladder cancer, Parkinson’s Disease, etc.);

       •   Reverse bifurcation seeking to establish damages first trials pursuant to Rule 42(b);

       •   Potential use of advisory jury trials pursuant to Rule 39;

       •   Common question trials pursuant to Rule 42(b);

       •   Summary trials and/or focus groups; and

       •   Whether to examine Daubert issues at a separate hearing or to integrate into first trials.

VI.    Selection of Trial Plaintiffs

       •   How to review and choose plaintiffs.

           o For example, single primary disease cases where a plaintiff is only alleging single

               illness as a result of exposure to water at Camp Lejeune (in contrast to secondary

               diseases from treatment) versus plaintiffs alleging multiple illnesses as a result of

               exposure to water at Camp Lejeune;

       •   Expediting or prioritizing trials for in extremis/gravely ill plaintiffs.

           o For example, the Stephen Dunning matter (Case No. 7:23-cv-1364) and Edgar

               Peterson, IV matters (Case No. 7:23-cv-01576).

VII.   Trial Logistics

       •   Timing and conceptual scheduling of trials across the four judges;

       •   Technological considerations; and

       •   Trial length.



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       The PLG submits the foregoing as a respectful suggestion and, of course, is very willing to

discuss these topics and/or any topics the Court would wish to discuss about the Track 1 trial

process.

Date: May 3, 2024                                           Respectfully Submitted

/s/ J. Edward Bell, III                             /s/ Zina Bash
J. Edward Bell, III (admitted pro hac vice)         Zina Bash (admitted pro hac vice)
Bell Legal Group, LLC                               Keller Postman LLC
219 Ridge St.                                       111 Congress Avenue, Ste. 500
Georgetown, SC 29440                                Austin, TX 78701
Telephone: (843) 546-2408                           Telephone 956-345-9462
jeb@belllegalgroup.com                              zina.bash@kellerpostman.com
Lead Counsel for Plaintiffs                         Co-Lead Counsel for Plaintiffs            and
                                                    Government Liaison
/s/ Elizabeth Cabraser
Elizabeth Cabraser (admitted pro hac vice)          /s/ W. Michael Dowling
Lieff Cabraser Heimann & Bernstein, LLP             W. Michael Dowling (NC Bar No. 42790)
275 Battery Street, Suite 2900                      The Dowling Firm PLLC
San Francisco, CA 94111                             Post Office Box 27843
Phone (415) 956-1000                                Raleigh, North Carolina 27611
ecabraser@lchb.com                                  Telephone: (919) 529-3351
Co-Lead Counsel for Plaintiffs                      mike@dowlingfirm.com
                                                    Co-Lead Counsel for Plaintiffs
/s/ Robin Greenwald
Robin L. Greenwald (admitted pro hac vice)          /s/ James A. Roberts, III
Weitz & Luxenberg, P.C.                             James A. Roberts, III (N.C. Bar No.: 10495)
700 Broadway                                        Lewis & Roberts, PLLC
New York, NY 10003                                  3700 Glenwood Avenue, Suite 410
Telephone: 212-558-5802                             P. O. Box 17529
rgreenwald@weitzlux.com                             Raleigh, NC 27619-7529
Co-Lead Counsel for Plaintiffs                      Telephone: (919) 981-0191
                                                    Fax: (919) 981-0199
/s/ Mona Lisa Wallace                               jar@lewis-roberts.com
Mona Lisa Wallace (N.C. Bar No.: 009021)            Co-Lead Counsel for Plaintiffs
Wallace & Graham, P.A.
525 North Main Street
Salisbury, North Carolina 28144
Tel: 704-633-5244
Co-Lead Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 3rd day of May, 2024.



                                            /s/ J. Edward Bell, III________________

                                            J. Edward Bell, III




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